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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                                SOUTHERN DIVISION
                                     (at London)

    UNITED STATES OF AMERICA,                     )
                                                  )
           Plaintiff,                             )       Civil Action No. 6: 18-078-DCR
                                                  )
    V.                                            )
                                                  )
    PATRICK BALCH, et al.,                        )                    ORDER
                                                  )
           Defendants.                            )

                                     ***   ***    ***   ***

         This matter is pending for consideration of Plaintiff United States’ motion for the

appointment of a Warning Order Attorney for Defendant Unknown Spouse of Patrick Balch.

[Record No. 8] Having considered the motion and being otherwise sufficiently advised, it is

hereby

         ORDERED as follows:

         (1)    The United States’ motion [Record No. 8] is GRANTED.

         (2)    Pursuant to Rules 4(e)(1) and 4(g) of the Federal Rules of Civil Procedure, the

following practicing attorney in good standing with this Court is hereby appointed Warning

Order Attorney for Defendant Unknown Spouse of Patrick Balch:

                                       Christy J. Love
                                    333 N. Main St. Ste. B
                                       P.O. Box 3105
                                   London, Kentucky 40744

         (3)    The Warning Order Attorney shall make diligent efforts to inform the defendant,

by mail, concerning the pendency and nature of this mortgage foreclosure action; and must

report the results of her efforts within 60 days from the date of entry of this Order. The Warning
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Order Attorney shall provide a copy of the report to counsel of record for the United States.

In connection with her efforts to notify the defendant, the Warning Order Attorney is

authorized to incur reasonable expenses such as postage, expenses attendant to public records,

searches, expenses attendant to on-line locator services, and telephone charges. The Warning

Order Attorney is not authorized to incur, without leave of Court, extraordinary expenses such

as newspaper advertisement charges and private investigator fees.

       (4)     If the Warning Order Attorney cannot inform the defendant concerning this

action, she shall so report to the Court and shall then make a defense by answer if the Warning

Order Attorney is able to do so. If unable to make a defense, the Warning Order Attorney shall

so report.

       (5)     The plaintiff’s cause of action is for the foreclosure of the plaintiff’s mortgage

lien(s) on the subject real property. The plaintiff’s motion for entry of this Order sets forth the

property’s address and the defendant’s address last known to the plaintiff. Upon receipt of its

copy of this Order from the Court Clerk, counsel for the plaintiff shall cause to be delivered,

by mail or by electronic means, to the Warning Order Attorney’s office the following: a copy

of the Complaint, a copy of the plaintiff’s motion for this order, and a copy of this Order.

       (6)     At the time of the filing of the report, the Warning Order Attorney may also file

a motion and affidavit for payment of the Warning Order Attorney’s fee and expenses. The

Court will award the Warning Order Attorney the customary fee for such services as well as

reasonable expenses. The Warning Order Attorney’s fee and expenses shall be taxed as costs.

       (7)     The United States and the Warning Order Attorney are referred to the Notice

filed on this date regarding the timing of payment of services provided by the Warning Order

Attorney.
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       This 27th day of April, 2018.




 

 

 

 

 




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